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                    IN THE UNITED STATES DISTRICT COURT

 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     SPORT LISBOA       E   BENFICA     -     Civil Action No. 2:18-cv-02978
13   FUTEBOL SAD,                             Hon. Ronald S.W. Lew
14   PLAINTIFF,
                                              ORDER FOR DISMISSAL WITHOUT
15   VS.                                      PREJUDICE AS TO DEFENDANT
16   JOHN DOE 1, AN UNKNOWN                   AUTOMATTIC INC. ONLY
     PERSON OR ENTITY, etc. et al.
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18   DEFENDANTS.
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 Case 2:18-cv-02978-RSWL-E Document 69 Filed 09/24/18 Page 2 of 2 Page ID #:470


 1         Pursuant to the stipulation of the parties, it is hereby ORDERED, ADJUDGED
 2   AND DECREED that:
 3   1.    The claims of Plaintiff Sport Lisboa e Benfica – Futebol, SAD against
 4   Defendant Automattic Inc. only, shall be, and they hereby are, dismissed without
 5   prejudice; and
 6   2.    Each party shall each bear its own attorneys’ fees and costs.
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 9   Dated: 9/24/2018                By:   s/ RONALD S.W. LEW
                                           Hon. Ronald R.S. Lew
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                                           U.S. District Court Judge
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